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                        UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts

 JOSE MARIA DECASTRO, an individual               ) Case No. 1:22-cv-11421
                                                  )
 Plaintiff,                                       ) PLAINTIFF’S SECOND MOTION FOR
                                                  ) CONTEMPT
 v.                                               )
                                                  )
 JOSHUA ABRAMS, an individual, et al.,            )
                                                  )
 Defendants.                                      )
 ____________________________________

                       PLAINTIFF’S SECOND MOTION FOR CONTEMPT


      Plaintiff Jose DeCastro (“Plaintiff” or “I”) hereby moves this Honorable Court, on January

17, 2023 or as soon as parties may be heard, for an Order holding Defendant Katherine Peter

(“Peter”) in contempt of Court and Ordering sanctions and such other further relief as this Court

deems proper and just under 18 U.S.C. § 401 and this Court’s inherent supervisory powers. In

support, I declare as follows:

      At ECF No. 33, the Court ordered, in part “… Plaintiff and Defendants are ORDERED not

to engage in any threatening, harassing, illegal, or otherwise inappropriate behavior when

engaging with each other, or with any individual or entity that may have knowledge pertaining to

this matter…”

      At ECF No. 43, the Court ordered, in part “… The parties are reminded of their obligation

to comply with the Court’s Order on October 21, 2022, which forbids all parties from engaging

in threatening, harassing, illegal, or otherwise inappropriate behavior with respect to the other
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parties in this lawsuit. See [ECF No. [33]]. The parties are further advised that failure to adhere

to the Order may result in, among other possible sanctions, monetary fines.”

     At ECF No. 51, the Court ordered, in part “… the Court strongly recommends that the

parties not harass, disparage, or otherwise act unkindly to each other or any potential witnesses

in this matter. It is the suggestion of the Court that, going forward, when faced with questions of

conduct, all parties to this litigation and their associates harken back to the lessons they learned

in elementary school about getting along with others, proper behavior, and cooperation and act in

accord with those lessons, hopefully without constant recourse to the Court.”

     Defendant Peter published a YouTube video that began streaming at 2023-01-

12T02:01:59+00:00 published at https://www.youtube.com/watch?v=HAFnBr6fQbo and titled

“Regarding The “End Torture Cuffs” Deception, Mark Stout Debacle”. I copied this information

from YouTube on January 16, 2022 and this is a true and correct copy. A screenshot is at

Exhibit 1. The screenshot shows Peter committing trade disparagement against Plaintiff’s yet to

be released, un-disclosed-technology-launch, in her YouTube video. Peter acquired the private

URL of a web application product owned by Plaintiff DeCastro that is being developed and

Funded by DeCastro with a third party. The web application product is currently unfinished and

undergoing beta-testing. Although Peter knew that the website was not live, Peter stated, as fact,

that the web site was complete and disparaged the quality of the site in a video over two hours

long. Peter read several of the placeholder stories on the website and attempted to track down the

source of placeholder images and stated as fact that Plaintiff was trying to pass these placeholder

stories off as real in an attempt at deception with “the most bullshit site” (timestamp 3:18). Peter

called Plaintiff a “liar” several times in the video and said that Plaintiff himself uploaded the

images and typed up the stories in an act of deception, to con, grift and benefit from supporters;




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false allegations and outright slander. This court ordered both plaintiff and defendant,

specifically, not to Defame each other; Peter has violated that order, matter-of-fact.

     Then, after that, Peter and her associates then left comments and fake stories on the

unpublished website. Peter invited her followers to do this at timestamp 14:46. This clearly

violates this Court’s orders. Since she literally stalks me on Discord, tracks my business

operations and location, and streams any videos I make on back channels, “So that Jose

DeCastro does not get the views on YouTube”, this means that Peter knows that my future

endeavor website is “coming soon”, that I’m not a web developer myself, and she obviously

knew that the stories were also not real but told 7,360 people (so far) that these beta-testing-

stories-and-pictures were meant to deceive them with fraud, instead of obviously being

placeholders for beta-testing of layouts and features. Together with the ongoing and continual

harassment that I disclosed to this court, Peter has shown that it is her intent to Paint me in

Negative light, to harm me financially, and to Inflict Long-Term Emotional Distress; which puts

her in contempt of this Court. I know she has no plans on stopping any of the things she does to

me without this Court’s intervention, because she is facing criminal charges in Boston for

continuing to harass a woman (“Doe”), in contempt of court. I have no relationship with Doe

other than she was also a target of Peter. Doe obtained a restraining order against Peter. You see,

Peter cannot stop doing what she does because she runs an online Troll Mafia, harassment

organization, that she heavily profits from and is her main source of income. She has raked in

almost $100,000 in the past few months alone, from her trolling endeavors. Regardless, her

unprovoked Defamation and Harassment, which I’ve ignored and not retaliated to publicly, put

her in contempt of this court. Finally, I remind this court that we are all in this court proceeding

because these illegal acts went on for six months before I finally filed this litigation; I warned




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Peter it would be costly if she persisted and that I would persist through the legal system, should

she not Cease and Desist. And, here we are today.

                                    POINTS AND AUTHORITIES

     District courts have broad, inherent power to enforce compliance with orders through civil

contempt. Shillitani v. United States, 384 U.S. 364, 86 S. Ct. 1531 (1966).

     To support a finding of civil contempt, the evidence must establish (1) there was a clear

and unambiguous order of the court; (2) the party violated the order. United States v. Saccoccia,

433 F.3d 19, 27 (1st Cir. 2005). Where, as here, all elements are clearly established by evidence,

a finding of civil contempt is appropriate.

     Because "the purpose of civil contempt proceedings is remedial, the defendant's intent in

committing the contempt is not material." 17 Am. Jur. 2d Contempt §27.

                                              DECLARATION

     I declare under penalty of perjury, that the foregoing is true and correct.

               CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)
     The court has waived this local rule for the remainder of this action.


Dated: January 16, 2023                           Respectfully submitted,

                                                  /s/ Jose DeCastro
                                                  Jose DeCastro
                                                  1258 Franklin St.
                                                  Santa Monica, CA 90404
                                                  chille@situationcreator.com
                                                  (310) 963-2445
                                                  Pro Se

                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                  /s/ Jose DeCastro



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                EXHIBIT 1




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